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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

JACKSONVILLE DIVSION ee B

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RAX ARCHER i 2
Plaintiff,

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CASENO.: 3° (§-cVv = eats _see.

NAVIENT SOLUTIONS, LLC

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Defendant.

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COMPLAINT AND DEMAND FOR JURY TRIAL
COMES NOW Plaintiff, Rax Archer, by and through the undersigned counsel, |
and sues Defendant, NAVIENT SOLUTIONS, LLC, and in support thereof respectfully

|
alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq

(“TCPA”) and the Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 ef seq.
(“FCCPA”).

INTRODUCTION
1.

The TCPA was enacted to prevent companies like Defendant from

|
invading American citizen’s privacy and prevent abusive “robo-calls |
2. “The TCPA is designed to protect individual consumers from receiving

intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132

S.Ct., 740, 745, 181, L.Ed. 2d 881 (2012).

3. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

|
scourge of modem civilization, they wake us up in the morning; they interrupt our dinner

|
at night; they force the sick and elderly out of bed; they hound us until we want to rip the
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telephone out of the wail.’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably
intended to give telephone subscribers another option: telling the auto-dialers to simply
stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242, 1256 (1 1" Cir. 2014).
4, According to the Federal Communications Commission (FCC),
“Unwanted calls and texts are the number one complaint to the FCC. There are thousands
of complaints to the FCC every month on both telemarketing and robocalls. The FCC
received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler Proposal
to Protect and Empower Consumers Against Unwanted Robocalls, Texts to Wireless
Phones, Federal Communications Commission, (May 27, 2015),
http://transition.fcc.gov/Daily_Releases/Daily_Business/2015/db0527/DOC-
333676A I pdf.

JURISDICTION AND VENUE

5. This is an action for damages exceeding Seventy-Five Thousand Dollars
($75,000.00) exclusive of attorney fees and costs.

6. Jurisdiction and venue for purposes of this action are appropriate and
conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves
violations of the TCPA.

7. Subject matter jurisdiction, federal question jurisdiction, for purposes of
this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the
district courts shall have original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States; and this action involves violations of
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47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)
and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11" Cir. 2014)

8. The alleged violations described herein occurred in Duval County, Florda.
Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2) as it is the
judicial district in which a substantial part of the events or omissions giving rise to this
action occurred.

FACTUAL ALLEGATIONS

9. Plaintiff is a natural person, and citizen of the State of Florida, residing in
Duval County, Florida

10. _—~ Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

11. —_— Plaintiff is an “alleged debtor.”

12. Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755
F. 3d 1265 (11" Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 C11"
Cir, 2014).

13. Defendant, is a corporation with its principal place of business located at
2001 Edmund Halley Drive, Reston, Virginia 20191, has a registered agent, Corporation
Service Company, located in Florida at 1201 Hays Street, Tallahassee, Florida 32301,
and which conducts business within the State of Florida.

14. The debt that is the subject matter of this Complaint is a “consumer debt”
as defined by Florida Statute §559.55(6).

15. Defendant is a “creditor” as defined in Florida Statute §559.55(5)
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16. Defendant called Plaintiff on Plaintiffs cellular telephone approximately
one hundred (100) times in an attempt to collect a debt.

17. Defendant attempted to collect an alleged debt from Plaintiff by this
campaign of telephone calls.

18. Upon information and belief, some or all of the calls the Defendant made
to Plaintiffs cellular telephone number were made using an “automatic telephone dialing
system” which has the capacity to store or produce telephone numbers to be called, using
a random or sequential number generator (including but not limited to a predictive dialer)
or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §
227(a)(1) (hereinafter “auto-dialer calls”). Plaintiff will testify that he knew it was an
auto-dialer because of the vast number of calls he received and because he heard a pause
when he answered his telephone before a voice came on the line from Defendant.

19. __ Plaintiff is the subscriber, regular user and carrier of the cellular telephone
number (904) ***-3684, and was the called party and recipient of Defendant’s calls.

20. Upon receipt of the calls from Defendant, Plaintiff's caller ID identified
the calls were being initiated from, but not limited to, the following telephone number:
(317) 806-0508.

21. On several occasions over the last four (4) years Plaintiff instructed
Defendant’s agent(s) to stop calling his cellular telephone.

22. In or about February 2018, Plaintiff answered a call from Defendant to his

aforementioned cellular telephone number. Plaintiff spoke to an agent/representative of
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Defendant and informed the agent/representative that the calls to his cellular telephone
were harassing and demanded that they cease calling his cellular telephone.

23. Despite clearly and unequivocally revoking any consent Defendant may
have believe they had to call Plaintiff on his cellular telephone, Defendant continues to
place automated calls to Plaintiff.

24. Each subsequent call the Defendant made to Plaintiff's aforementioned
cellular telephone number was done so without the “express consent” of the Plaintiff.

25. Each subsequent call the Defendant made to Plaintiff's aforementioned
cellular telephone number was knowing and willful.

26. Plaintiff's numerous conversations with Defendants  agent(s)/
representative(s) wherein he demanded a cessation of call were in vain as Defendant
continues to bombard him with automated calls unabated.

27. Defendant has a corporate policy to use an automatic telephone dialing
system or a pre-recorded or artificial voice to individuals just as it did to Plaintiff's
cellular telephone in this case.

28. | Defendant has a corporate policy to use an automatic telephone dialing
system or a pre-recorded or artificial voice just as it did to Plaintiff's cellular telephone in
this case, with no way for the consumer, Plaintiff, or Defendant, to remove the number.

29. | Defendant’s corporate policy is structured so as to continue to call
individuals like Plaintiff; despite these individuals explaining to Defendant they wish for

the calls to stop.
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30. Defendant has numerous other federal lawsuits pending against it alleging
similar violations as stated in this Complaint.

31. | Defendant has numerous complaints across the country against it asserting
that its automatic telephone dialing system continues to call despite requested to stop.

32. Defendant has had numerous complaints from consumers across the
country against it asking to not be called; however, Defendant continues to call the
consumers.

33. | Defendant’s corporate policy provided no means for Plaintiff to have his
number removed from Defendant’s call list.

34. Defendant has a corporate policy to harass and abuse individuals despite
actual knowledge the called parties do not wish to be called.

35. Not a single call placed by Defendant to Plaintiff were placed for
“emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

36. Defendant willfully and/or knowingly violated the TCPA with respect to
Plaintiff.

37. | From each and every call placed without consent by Defendant to
Plaintiff's cellular telephone, Plaintiff suffered the injury of invasion of privacy and the
intrusion upon his right of seclusion.

38. | From each and every call without express consent placed by Defendant to
Plaintiff's cellular telephone, Plaintiff suffered the injury of occupation of his cellular

telephone line and cellular phone by unwelcome calls, making the telephone unavailable
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for legitimate callers or outgoing calls while the telephone was ringing from Defendant’s
calls.

39. From each and every call placed without express consent by Defendant to
Plaintiff's cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of
his time. For calls he answered, the time he spent on the call was unnecessary as he
repeatedly asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste
time to unlock the telephone and deal with missed call notifications and call logs that
reflected the unwanted calls. This also impaired the usefulness of these features of
Plaintiff's cellular telephone, which are designed to inform the user of important missed
communications.

40. Each and every call placed without express consent by Defendant to
Plaintiff's cellular telephone was an injury in the form of a nuisance and annoyance to
Plaintiff. For calls that were answered, Plaintiff had to go to the unnecessary trouble of
answering them. Even for unanswered calls, Plaintiff had to waste time to unlock the
telephone and deal with missed call notifications and call logs that reflected the unwanted
calls. This also impaired the usefulness of these features of Plaintiff's cellular telephone,
which are designed to inform the user of important missed communications.

41. Each and every call placed without express consent by Defendant to
Plaintiff's cellular telephone resulted in the injury of unnecessary expenditure of

Plaintiff's cellular telephone’s battery power.
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42. Each and every call placed without express consent by Defendant to
Plaintiff's cellular telephone where a voice message was left which occupied space in
Plaintiff's telephone or network.

43. Each and every call placed without express consent by Defendant to
Plaintiff's cellular telephone resulted in the injury of a trespass to Plaintiffs chattel,
namely his cellular telephone and his cellular telephone services.

44. Asa result of the calls described above, Plaintiff suffered an invasion of
privacy. Plaintiff was also affect in a personal and individualized way by stress,
depression, and mental distress.

COUNT I
(Violation of the TCPA)

45. Plaintiff fully incorporates and re-alleges paragraphs one (1) through forty
four (44) as if fully set forth herein.

46. Defendant willfully violated the TCPA with respect to Plaintiff, especially
for each of the auto-dialer calls made to Plaintiff's cellular telephone after Plaintiff
notified Defendant that he wished for the calls to stop.

47, Defendant repeatedly placed non-emergency telephone calls to Plaintiff's
cellular telephone using an automatic telephone dialing system or prerecorded or artificial
voice without Plaintiff's prior express consent in violation of federal law, including 47
U.S.C § 227(b)(1)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

triable and judgment against NAVIENT SOLUTIONS, LLC for statutory damages,
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punitive damages, actual damages, treble damages, enjoinder from further violations of
these parts and any other such relief the court may deem just and proper.

COUNT II
(Violation of the FCCPA)

48. Plaintiff fully incorporates and re-alleges paragraphs one (1) through forty
four (44) as if fully set forth herein

49. _ At all times relevant to this action Defendant is subject to and must abide
by the laws of the State of Florida, including Florida Statute § 559.72.

50. Defendant has violated Florida Statute § 559.72(7) by willfully
communicating with the debtor or any member of his or her family with such frequency
as can reasonably be expected to harass the debtor or his or her family.

51. | Defendant has violated Florida Statute § 559.72(7) by willfully engaging
in other conduct which can reasonably be expected to abuse or harass the debtor or any
member of his or her family.

52. Defendant’s actions have directly and proximately resulted in Plaintiff's
prior and continuous sustaining of damages as described by Florida Statute § 559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so
triable and judgment against NAVIENT SOLUTIONS, LLC for statutory damages,
punitive damages, actual damages, costs, interest, attorney fees, enjoinder from further

violations of these parts and any other such relief the court may deem just and proper.
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Respectfully submitted,

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/s/ Octavio Gomez

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